                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                Plaintiff,                   )
                                             )
       v.                                    )          No. 17-0172-01-CR-W-DGK
                                             )
ISSE AWEIS MOHAMUD,                          )
                                             )
                Defendant.                   )

                             ACCEPTANCE OF GUILTY PLEA AND
                                 ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge Robert E.

Larsen (Doc. 40), the plea of guilty by the Defendant to Count One of the Indictment, is now

accepted and the Defendant is adjudged guilty of such offenses. Sentencing will be set by

subsequent order of the Court.

       IT IS SO ORDERED.


                                                  /s/ Greg Kays
                                                 GREG KAYS, CHIEF JUDGE
                                                 UNITED STATES DISTRICT COURT

Dated: November 20, 2017




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